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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

      IRA KLEIMAN, as the personal representative of the        CASE NO.: 9:18-cv-80176-BB/BR
      Estate of David Kleiman, and W&K Info Defense
      Research, LLC

                   Plaintiffs,

      v.

      CRAIG WRIGHT,

                   Defendant.


       NOTICE OF FILING EXHIBITS USED BY PLAINTIFFS AT JUNE 28, 2019 SHOW
                                CAUSE HEARING
           Plaintiffs provide notice that they are filing the exhibits Plaintiffs that were admitted into

  evidence at the June 28, 2019 Show Cause Hearing in front of the Honorable Bruce Reinhart at

  the Paul G. Rogers U.S. Courthouse in West Palm Beach, Florida. Plaintiffs attach these exhibits

  to this filing and have redacted these exhibits consistent with the Court’s instructions.1

  Dated: July 3, 2019                                    Respectfully submitted,

                                                         /s/ Velvel (Devin) Freedman
                                                         Velvel (Devin) Freedman, Esq.
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  1
    Plaintiffs have attached a placeholder for Exhibit 15 indicating that Exhibit 15 was not admitted
  into evidence.
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                                                     Counsel to Plaintiffs Ira Kleiman as
                                                     Personal Representative of the Estate of
                                                     David Kleiman and W&K Info Defense
                                                     Research, LLC.


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 3, 2019, a true and correct copy of the foregoing was

  filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                     /s/ Velvel (Devin) Freedman
                                                     Velvel (Devin) Freedman




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